   Case 0:21-cv-61428-RKA Document 18 Entered on FLSD Docket 08/13/2021 Page 1 of 6



                                                 UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF FLORIDA
                                                   FORT LAUDERDALE DIVISION

                                                         CASE NO.: 0:21-cv-61428

          VIRGINIA AYALA,
          Plaintiff(s),
          v.
          HEALTHCARE REVENUE RECOVERY GROUP, LLC,
          Defendant(s).
          _____________________________________/

           Jibrael Hindi, Esquire                                            Ernest Kohlmyer, III, Esquire
           Thomas Patti, Esquire                                             Shepard, Smith, Kohlmyer & Hand, P.A.
           The Law Offices of Jibrael S. Hindi                               2300 Maitland Center Parkway, Suite 100
           110 SE 6th Street, Suite 1744                                     Maitland, FL 32751
           Ft Lauderdale, FL 33301                                           Email: skohlmyer@shepardfirm.com;
           Email: jibrael@jibraellaw.com;                                    dgoode@shepardfirm.com;
           bryon@jibraellaw.com                                              tkittilson@shepardfirm.com;
           tom@@jibraellaw.com                                               service@shepardfirm.com

                                                        NOTICE OF MEDIATION

          YOU ARE HEREBY NOTIFIED, pursuant to the agreement of the parties and the provisions of
          Florida Statutes Chapter 44, that a Mediation Conference has been scheduled as follows:

          Mediator: Steven R. Jaffe
          Mediation Date: March 1, 2022
          Mediation Time: 10:00 a.m.
          Mediation Location: Zoom Video Conference
          Time Reserved: 4.00 Hours
          ___________________________________________________________________________________
          The terms and provisions of the confirmation letter accompanying this Notice of Mediation are hereby incorporated by reference into
          this Notice of Mediation.
          If you are a person with a disability who needs any accommodation in order to participate in this proceeding, you are entitled to the
          provision of certain assistance at no cost to you. Please contact the ADA Coordinator in the Administrative office of Upchurch
          Watson White & Max, 125 S. Palmetto Avenue, Daytona Beach, FL 32114, Telephone 386-253-1560 or 800-264-2622, within two (2)
          working days of receipt of this Notice of Mediation.


          I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Mediation has
          been served by e-mail to the above named addressees on Friday, August 13, 2021.

                                                                                          UPCHURCH WATSON WHITE & MAX
                                                                                                        Royal Palm at Southpointe
                                                                                             900 South Pine Island Road, Suite 410
                                                                                                              Plantation, FL 33324
                                                                                          Phone: 954-423-8856 / Fax: 954-334-2838
                                                                                                          Toll Free: 800-863-1462
                                                                                                      Website: www.uww-adr.com
                                                                                                                               BY:
                                                                                                                /s/ Steven R. Jaffe
                                                                                                               Mediator # 35295R
                                                                                                             FL BAR No. 390770




DAYTONA BEACH  MAITLAND/ORLANDO  OCALA  JACKSONVILLE  FORT LAUDERDALE  WEST PALM BEACH  MIAMI  B I R M I N G H A M
    Case 0:21-cv-61428-RKA Document 18 Entered on FLSD Docket 08/13/2021 Page 2 of 6

                                                                          SOUTH FLORIDA  SOUTHEAST  UNITED STATES
                                                                                                          Toll Free: 800-863-1462
                                                                                                              Direct: 954-423-8856
                                                                                                      E-mail: sjaffe@uww-adr.com
                                                                                                      Website: www.uww-adr.com




                                MEDIATION COMMUNICATION – STRICTLY CONFIDENTIAL

            VIA EMAIL


           Re:    Ayala vs Healthcare Revenue Recovery Group
                  Our File No: 21SRJ-396

           Dear Attorneys:

                    This letter sets forth the terms upon which Upchurch Watson White & Max has
           agreed to provide mediation services on behalf of the parties to this action or proceeding.
           It is your request that Steven Jaffe provide the mediation services to be rendered under
           this agreement.

                  1.          Schedule. The mediation services have been scheduled as indicated in
                              the Notice of Mediation accompanying this confirmation letter.

                              Mr. Jaffe strongly encourages all parties, representatives, insurers or others
                              having an interest in the negotiations to be present at the mediation on
                              the scheduled date.

                              In light of the complexities of the issues involved, Mr. Jaffe strongly suggests
                              engaging counsel in pre-mediation attorney caucuses. Should you wish to
                              contact me in this regards, please do not hesitate. hcohen@uww-adr.com.

                  2.          Conduct of Mediation. Unless otherwise agreed by the parties or ordered
                              by the presiding judge, the mediation will be conducted in accordance
                              with Fla.R.Civ.P. 1.700 – 1.730, and Chapter 44, Florida Statutes, including all
                              included protections of privilege, confidentiality and immunity. If a
                              Stipulation to Mediate is executed by the parties, the terms of this
                              engagement should be incorporated by reference and be considered
                              controlling. In the event an order of mediation is entered by the Court, this
                              agreement shall constitute your waiver of any terms of the order that are
                              inconsistent herewith, and shall further constitute your specific acceptance
                              of the terms set forth herein.

                   3.         Submissions. Mr. Jaffe will review all relevant documents in the case and
                              such other materials as you may regard as relevant. We request that you
                              e-mail a case summary to Steve Jaffe at sjaffe@uww-adr.com and Heidi
                              Cohen at hcohen@uww-adr.com as soon as possible, or within 10 days prior
                              to the mediation. We encourage that all case summaries be exchanged
                              with opposing counsel. Any confidential communication to Mr. Jaffe may
                              be made through a confidential addendum. (A suggested case summary


                                       PLEASE DIRECT ALL COR RESPONDENCE TO:
                        900 S O U T H P I N E I S L A N D R O A D , S U I T E 4 10 , P L A N T A T I O N , F L 3 33 24
ORMOND BEACH  MAITLAND/ORLANDO  OCALA  JACKSONVILLE  FORT LAUDERDALE  WEST PALM BEACH  MIAMI  B I R M I N G H A M
Case 0:21-cv-61428-RKA Document 18 Entered on FLSD Docket 08/13/2021 Page 3 of 6



                 outline is located below). When sending hard copies, please contact our
                 office for the best physical mailing address.


          4. Mediation Fees and Costs (if any). The fees for mediation services will be
             invoiced at the hourly rate of $500 to be divided equally between each party
             who participate in the mediation process, or as otherwise agreed. This hourly
             rate will be applied to all services rendered by Mr. Jaffe including coordination,
             pre-mediation caucuses, preparation, and conduct of the mediation to
             include travel time and costs thereof,(when outside the Miami-
             Dade/Broward/Palm Beach Counties area) together with post mediation
             services rendered. When outside the Miami-Dade/Broward/Palm Beach
             Counties area other expenses associated with the mediation may include
             airfare, hotel, ground transportation and meals. Due to the demands on Mr.
             Jaffe’s calendar within and outside the State of Florida, the minimum charge for
             half-day mediation services shall be no less than four (4) hours per day. For
             cases scheduled for the full day, or more than 4 hours, there is an eight (8) hour
             minimum charge.

                 Class/Mass Actions - Mediation Fees The fees for mediation services will be
                 invoiced at a day rate of $6,000 to be divided equally between the parties
                 who participate in the mediation process, or as otherwise agreed. Mass
                 actions are those mediations having in excess of ten (10) claimants. The
                 day rate will include all services rendered by Mr. Jaffe including
                 coordination, pre-mediation caucuses, preparation, and conduct of the
                 mediation not to exceed a 10 hour mediation day. Travel time and other
                 expenses associated with the mediation travel, which may include airfare,
                 hotel, ground transportation and meals, will be billed separately. Post
                 mediation services will be invoiced at the hourly rate of $600 to be divided
                 equally between the parties who participate in the mediation process, or
                 as otherwise agreed.

          5.     Fee Allocation. Unless otherwise directed, the total fees and incurred costs
                 will be allocated equally between the parties who participate in the
                 mediation process. A detailed invoice will be submitted to each party
                 following the conclusion of the mediation covering all time and costs
                 expended in connection with the engagement as of the invoice date. All
                 invoices and payables are due upon receipt. Follow-up work performed
                 after the mediation session may be billed by separate invoice.

          6.     Cancellation Policy. Cancellations of all-day cases place an undue
                 burden upon the mediator. Therefore, we must receive at least a 10 day
                 notice in order to avoid an 8-hour cancellation charge. All 4-hour cases
                 cancelled less than 3 business days prior to the mediation are also subject
                 to a cancellation charge of 50% of the time reserved for the mediation.
                 THESE CHARGES ALSO APPLY TO SETTLED CASES. PLEASE FACTOR THIS IN
                 WHEN SETTLING YOUR CASE WITHIN THE CANCELLATION PERIOD.

          7.     Responsibility for Mediation Fee. While it is understood that our invoice may
                 be subject to reimbursement from your client, or even forwarded to your
                 client for direct payment, please understand this engagement has been
                 accepted in reliance upon our relationship with you and your firm. In other
Case 0:21-cv-61428-RKA Document 18 Entered on FLSD Docket 08/13/2021 Page 4 of 6



                  words, Upchurch Watson White & Max is extending credit to your law firm,
                  and not to your client. Should your firm not agree to assure payment,
                  please advise us in writing no less than ten (10) days before the mediation,
                  together with the name and contact information of the financially
                  responsible client representative, in order that we may invoice directly for
                  a security deposit.

           8.     Preparation of documents. On occasion, Mr. Jaffe’s mediation services
                  may include the preparation of written summaries of interim or final
                  agreements reached during the mediation process. All such
                  documentation is subject to full review, editing and approval by both the
                  parties and their counsel. By accepting the terms of this engagement,
                  counsel and their parties hereby agree that such services as may be
                  rendered by Mr. Jaffe shall not be considered the practice of law or in any
                  representative capacity to any party involved in this mediation.

           If you have any questions concerning these arrangements, please contact me
     immediately.

              We appreciate the opportunity to serve each of you, and we look forward to
     assisting you in the negotiated resolution of this matter.

                                        Sincerely,
                                        UPCHURCH WATSON WHITE & MAX


                                        /s/ Heidi Cohen
                                        Mediation Coordinator
Case 0:21-cv-61428-RKA Document 18 Entered on FLSD Docket 08/13/2021 Page 5 of 6




                        SUGGESTED CONTENTS AND CONSIDERATIONS
                               FOR POSITION STATEMENTS


           A brief recitation of the facts that gave rise to the litigation.

           The present posture of the case (any matters pending in court or in any related
            litigation).

           Any recent developments that may impact on the resolution of the case.

           The history of any efforts to settle the case including any prior offers or
            demands.

           A summary of the parties’ legal positions and a candid assessment of their
            respective strengths and weaknesses.

           Identification of parties, representatives and counsel who will be directly
            involved in the mediation discussions; and a confirmation of their authority to
            settle the case.

           Description of any sensitive issues that may influence any settlement
            negotiations.

           The nature and extent of any prior or future relationship between the parties
            that may affect the mediation.

           The negotiating strategy of the parties and counsel.

           Any suggested approach you would like me, as your mediator, to take in an
            attempt to settle the case.

           Any creative solutions.


        NOTE: While I urge that the position statement be shared with your opposition (the
        more your opposition understands about your position, the better able your
        opposition will be able to negotiate with you), you may make your statement
        confidential in whole or in part, at your discretion. I would suggest that to the extent
        that you wish to make a portion of your statement confidential, you present it to me
        in a “blind p.s.”.
Case 0:21-cv-61428-RKA Document 18 Entered on FLSD Docket 08/13/2021 Page 6 of 6



                           Ayala vs Healthcare Revenue Recovery Group
                          Our File No. : 21SRJ-396   Date: March 1, 2022

                               MEDIATION CONFIDENTIALITY AGREEMENT

     The above-styled case is in mediation for the purpose of attempting to achieve resolution.
     During the period of this mediation (which period includes commencement, preparation,
     conduct and post-mediation efforts) all communications and exchanges of information
     whether verbal or in writing shall be and remain confidential. Said communications shall
     be inadmissible in a court of law and at no time disclosed to judge, jury, or any appellate
     court.

             This Mediation Confidentiality Agreement shall remain in effect regardless of the
     termination of the mediation. To the extent that any party wishes to terminate their
     participation while others continue the mediation process, said terminating party shall be
     excluded from any communications while mediation communications continue under the
     terms of this agreement. Once the mediation is terminated in full, this Mediation
     Confidentiality Agreement shall continue to protect all communications made from the
     commencement of the mediation through the date of said termination.

            The above terms and conditions are agreed upon by all parties and their counsel
     as evidence below by the execution of this agreement.

            Done and Agreed: March 1, 2022.


      Sign: _____________________________________    Sign: _____________________________________


      Print Name: _______________________________    Print Name: _______________________________


      Email Address: _____________________________   Email Address: _____________________________


      Sign: _____________________________________    Sign: _____________________________________


      Print Name: _______________________________    Print Name: _______________________________


      Email Address: _____________________________   Email Address: _____________________________


      Sign: _____________________________________    Sign: _____________________________________


      Print Name: _______________________________    Print Name: _______________________________


      Email Address: _____________________________   Email Address: _____________________________
